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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                         *           CRIMINAL NO. 24-105

                v.                                *           SECTION: “D”(1)

 RYAN J. HARRIS, ET AL.                           *

                                          *       *       *

    GOVERNMENT’S MOTION TO REVOKE BOND FOR DEFENDANT JASON F.
      GILES, OR ALTERNATIVELY TO MODIFY THE TERMS OF HIS BOND

       NOW COMES, the United States of America, through the undersigned attorneys, who

respectfully moves this Honorable Court to revoke the bond for defendant Jason F. Giles, or

alternatively to modify the terms of his bond, for the reasons set forth in the accompanying sealed

memorandum in support.

                                                      Respectfully submitted,

                                                      MICHAEL M. SIMPSON
                                                      ACTING UNITED STATES ATTORNEY


                                                      /s/ Matthew R. Payne
                                                      MATTHEW R. PAYNE
                                                      BRIAN M. KLEBBA
                                                      MARY KATHERINE KAUFMAN
                                                      Assistant United States Attorneys
                                                      J. RYAN McLAREN
                                                      Trial Attorney
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 29, 2025, I electronically filed the foregoing with the Clerk of
Court for the Eastern District of Louisiana by using the CM/ECF system, which will send a notice
of electronic filing to all counsel of record.

                                                      /s/ Matthew R. Payne
                                                      MATTHEW R. PAYNE
                                                      Assistant United States Attorney




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